                      Case
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AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma

(1) PEOPLE FOR THE ETHICAL TREATMENT )
OF ANIMALS, INC.,                    )
                                     )
                                     )
                 Plaintiff(s),       )
                                     )
v.                                   )                                   Case No. CIV-20-612-PRW
(2) LAUREN LOWE,                     )
                                     )
                                     )
                                     )
                 Defendant(s).       )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

Lauren Lowe
25803 N. County Road 3250
Wynnewood, OK 73089

         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
                                       Heather L. Hintz and Mark E. Hornbeek
                                                 Phillips Murrah P.C.
                                    Corporate Tower, 13th Floor, 101 N Robinson
                                               Oklahoma City, OK 73102
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                    11:25 am, Jun 30, 2020




Signed and sealed by the Clerk of the Court or Deputy Clerk.
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